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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                JANE M. AZIA, CHIEF
ATTORNEY GENERAL                                                          C ONSUMER F RAUDS AND P ROTECTION B UREAU
                                                                                               KATE M ATUSCHAK
                                                                                       ASSISTANT ATTORNEY GENERAL
                                                                               E-MAIL: KATE.MATUSCHAK@AG. NY. GOV
                                                                                                      (212) 416-6189


                                              May 6, 2022


   By ECF

   Hon. Louis L. Stanton, U.S.D.J.
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

            Re:     FTC et al. v. Quincy Bioscience Holding Co., Inc. et al. (No. 17-cv-00124-LLS)

   Dear Judge Stanton:

            Plaintiff the People of the State of New York, by Letitia James, Attorney General of the
   State of New York (“NYAG”), respectfully requests, in accordance with Part 2.E. of Your
   Honor’s Individual Practices, that Your Honor schedule oral argument on Defendant Mark
   Underwood’s Motion for Partial Summary judgment (filed Mar. 18, 2022) [Dkt. No. 210].
   Concurrently with this letter request, the NYAG is submitting papers in opposition to Defendant
   Underwood’s Motion. Also concurrently with this letter request, the NYAG is submitting a
   letter-request for a pre-motion conference regarding its proposed cross-motion for summary
   judgment. Should the Court grant leave for the NYAG to file its motion, the NYAG respectfully
   suggests that its cross-motion could be argued at the same time that the Court hears argument on
   Underwood’s motion.

          The NYAG respectfully suggests that oral argument may assist the Court in its
   assessment and resolution of Underwood’s Motion and the NYAG’s proposed cross-motion.
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                                          Respectfully submitted,

                                          /s/ Kate Matuschak
                                          Kate Matuschak
                                          Assistant Attorney General
                                          New York State Office of the Attorney General


cc:    Counsel of Record (via ECF)
